Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 1 of 22 PageID #:6




               EXHIBIT A
               Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 2 of 22 PageID #:7




                                                                                                                        LDD / ALL
                                                                                                     Transmittal Number: 23713516
Notice of Service of Process                                                                            Date Processed: 09/01/2021

Primary Contact:           Danielle Hohos
                           Williams-Sonoma, Inc.
                           3250 Van Ness Ave
                           San Francisco, CA 94109-1012

Electronic copy provided to:                   Yasmeen Mahmood

Entity:                                       Williams-Sonoma, Inc.
                                              Entity ID Number 2984932
Entity Served:                                Williams-Sonoma, Inc.
Title of Action:                              Juliana Barrientos vs. Williams-Sonoma, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Cook County Circuit Court, IL
Case/Reference No:                            2021CH04285
Jurisdiction Served:                          California
Date Served on CSC:                           08/30/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Keith J. Keogh
                                              312-726-1092

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                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 3 of 22 PageID #:8
 Hearing Date: 11/18/2021 10:00 AM - 10:00 AM
 Courtroom Number:
 Location:
                                                                                                        FILED
                                                                                                        8/26/2021 10:28 AM
                                                                                                        IRIS Y. MARTINEZ
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                                                                                                        COOK COUNTY, IL
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             2120 - Served                      2121- Served               2620 - Sec. of State
             2220 - Not Served                  2221 - Not Served          2621 - Alias Sec of State
             2320 - Served By Mail              2321 - Served By Mail
             2420 - Served By Publication       2421 - Served By Publication
             Summons - Alias Summons                                                    (12/01/20) CCG 0001 A


                                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

              Name all Parties

              Juliana Barrientos


                                                     Plaintiff(s)
                                        V.
                                                                               2(121CH042f15
              Williarns-Sonotna, Inc.                               Case No.


                                                    e en ant s
             CSC, Lawyers Incorporating Service
             2710 Gateway Oaks Drive, Suite 150N
             Sacramento CA 95833
                                        Address of Defendant(s)
             Please serve as follows (check one): C~ Certified Mail        Sheriff Service   `' Alias
                                                          SUMMONS
             To each Defendant:
             You have been named a defendant in the coinplaint in this case, a copy of which is hereto attached.
             You are summoned and reoluired to file your appearance, in the office of dze clerk of this court,
             within 30 days after service of this suminons, not counting the day of service. If you fail to do so, a
             judgment by default may be entered against you for the relief asked in the complaint.
                                 THERE V(/ILL BE A FEE TO FILE YOUR APPEARANCE.
             To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
             COURTHOUSE. You will need: a colnputer with internet access; an email address; a completed
             Appearance form that can be found at http://xv-,vxvillinoiscourts.gov/Forms/approved/procedures/
             appearance.asp; and a credit card to pay any re'uired fees.



                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                cookcountyclerkofcourt.org
                                                             Page 1 of 3
                Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 4 of 22 PageID #:9


     Summons - Alias Summons                                                                                  (12/01/20) CCG 0001 B
     E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
     service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
     provider.
 N   If you need additional help or have trouble e-filing, visit http://w-%vv~illinoiscourts.gov/faq/gethelp.asp or talk with
 =   your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allo-,vs you to file in-
"N   person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
O
N    If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
~
¢
co   yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to -,vww
o    illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee -waiver application.
o    Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
N    date AND for information whether your hearing xvill be held by video conference or by telephone. The Clerk's
`°
w
     office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
~
o    NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
°          appearance by. You may file your appearance form by efiling unless you are exempted.
"    A court date xvill be set in the future and you will be notified by email (either to the email address that you used to
     register for efiling, or that you provided to the clerk's office).
     CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
     cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
     appropriate clerk's office location listed on Page 3.
     To the officer: (Sheriff Service)
     This summons must be returned by the officer or other person to whom it was given for service, with endorsement
     of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
     endorsed. This summons may not be served later than thirty (30) days after its date.




                      39042                                                           8/26/2021 10:28 AM IRIS Y. MARTINEZ
     *   Atty. No.:                                                 Witness date
     G Pro Se 99500
                                                                                                              Gty, r   c
                                                                                                            `~, ; --..
     Name: Keith J. Keogh                                                                                    ~ ~"   _
     Atty. for (if applicable):                                                IRIS Y. M,gRTIN
                                                                                                          ~~ ~
     Juliana Barrientos                                             C Service by Certified Mai1: ~f~~- ~

     Address: 55 W. Monroe St, Suite 3390                           C Date of Service:
                                                                       (To be insertecl Uy officer on copy left with employer or other person)
     Citv: Chicago

     State:   IL      Zip: 60603

     Telephone: 312-726-1092

     Primary Email: Keith@KeoghLaw.com

                              Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                   cookcountyclerkofcourt.org
                                                              Page 2 of 3
         Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 5 of 22 PageID #:10


                       GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
appropriate division, district or department to request your next court date. Email your case number, or, if you do
not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
and birthdate for a criminal case.


            CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
Court date EMAIL: ChanCourtDate@cookcountycourt.com                       DISTRICT 2 - SKOKIE
Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDate@cookcountycourt.com
                CIVIL DIVISION                               Gen. Info: (847) 470-7250
Court date EMAIL: CivCourtDate@cookcountycourt.com                 DISTRICT 3 - ROLLING MEADOWS
Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDate@)cookcountycourt.com
              COUNTY DIVISION                                Gen. Info: (847) 818-3000
Court date EMAIL: CntyCourtDate@cookcountycourt.com                      DISTRICT 4 - MAYWOOD
Gen. Info: (312) 603-5710                                    Court date EMAIL: D4CourtDate@cookcountycourt.com
 DOMESTIC RELATIONS /CHILD SUPPORT                           Geii. Info: (708) 865-6040
                  DIVISION                                             DISTRICT 5 - BRIDGEVIEW
Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: D5CourtDate@cookcountycourt.com
              OR
                  C1uldSupCourtDate@cookcountycourt.com
                                                             Gen. Info: (708) 974-6500
Gen. Info:   (312) 603-6300                                             DISTRICT 6 - MARKHAM

            DOMESTIC VIOLENCE                                Court date EMAIL: D6CourtDate@cookcountycourt.com
Court date EMAIL: DVCourtDate@cookcountycourt.com            Gen. Info: (708) 232-4551
Gen. Info: (312) 325-9500

                 LAW DIVISION
Court date EMAIL: LawCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5426

             PROBATE DIVISION
Court date EMAIL: ProbCourtDate@cookcountycourt.com
Gen. Info: (312) 603-6441




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                                          cookcountyclerkofcourt.org
                                                      Page 3 of 3
           Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 6 of 22 PageID #:11




Chancery Division Civil Cover Sheet
General Chancery Section                                                                                             (12/01/20) CCCH 0623

                                       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                          COUNTY DEPARTMENT, CHANCERY DIVISION

Juliana Barrientos
                                                             Plaintiff
                                  V.                                     Case No:
Williams-Sonoma, Inc.
                                                           Defendant

                                            CHANCERY DIVISION CIVIL COVER SHEET
                                                GENERAL CHANCERY SECTION
A Chancery Division Civil Cover Sheet - General Chanceiy Section shall be filed u>ith the initial compl<tint in all actions filed in the General
Chancery Section of Chancery Division. The itiformation contained herein is for administrative purposes only. Please check the box in
front of the appropriate category which best characterizes your action being filed.
Only one (1) case type may be checiced with this cover sheet.
0005 ❑ Administrative Review                                             0017     ❑ Mandamus
0001   Class Action                                                      0018     ❑ Ne Exeat
0002 ❑ Declaratory Judgment                                              0019     ❑ Partition
0004 ❑ Injunction                                                        0020     ❑ Quiet Title
                                                                         0021     ❑ Quo ~xlarranto
0007   ❑   General Chancer~.                                             0022     ❑ Redemption Riglits
0010   ❑   Accounting                                                    0023     ❑ Reformation of a Contract
0011   ❑   Arbitration                                                   0024     ❑ Rescission of a Contract
0012   ❑   Certiorari                                                    0025     ❑ Specific Performance
0013   ❑   Dissolution of Corporation                                    0026     ❑ Trust Construction
0014   ❑   Dissolution of Partnership                                    0050     ❑ Internet Take Down Action (Compromising Images)
0015   ❑   Equitable Lien
0016   ❑   Interpleader                                                            ❑   Other (specify)


C~' Attv No.: 39042                     C-) Pro Se 99500
                                                                         Pro Se OnlT. ❑ I have read and agree to the terms of the Clerk's
Attv Name: heitli Keogh                                                                 Clerk's Office Electronic Notice Policy and
                                                                                        choose to opt in to electronic notice from the
AttSc for: Juliana Barrientos                                                           Clerk's office for tlus case at this email address:
Address:   55 W. Monroe St, Suite 3390
                                                                         Email:
Citv: Cl-iicago                               State: IL
Zip:   60603

Telephone: 312-726-1092

Primary Email:    Keith@KeoghLaxu.com
                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                                                Page 1 of 1
              Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 7 of 22 PageID #:12
Hearing Date: 12/27/2021 10:00 AM - 10:00 AM         12-Person Jury
Courtroom Number: 2302
Location: District 1 Court
        Cook County, IL                                                                            FILED
                                                                                                   8/26/2021 9:41 AM
             Firm No. 39402                                                                        IRIS Y. MARTINEZ
                                                                                                   CIRCUIT CLERK
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N                       IN THE CIRCUIT COURT OF COOK COUNTY~ ILLINOIS 2021CH04285
o                           COUNTY DEPARTMENT, CHANCERY DIVISION
~                                                                     14585180
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N
              JULIANA BARRIENTOS,             )

                    Plaintiff,                                        CASE No.:

              V.

              WILLIAMS-SONOMA, INC.,

                    Defendant.
                                                              ~~

                                               CLASS ACTION COMPLAINT

                    Plaintiff, Juliana Barrientos ("Plaintiff'), on behalf of herself and other similarly situated

             individuals, hereby sues Williams-Sonoma, Inc. ("Defendant" or "Wi lliam-Sonoma"), and alleges

            as follows based on personal knowledge as to herself and on information and belief as to all other

            matters, and demands trial by jury:

                                                    INTRODUCTION

                    1.      This action arises from Defendant's violations of the Fair and Accurate Credit

            Transactions Act ("FACTA") amendment to the Fair Credit Reporting Act, 15 U.S.C. § 1681 et

            seq. (the "FCRA"), which requires the truncation of certain credit card and debit card information

            on printed receipts provided to consumers. Despite the clear language of the statute, Defendant

            knowingly or recklessly failed to comply with FACTA by printing the first six and last four digits

            of its customers' credit card or debit card account numbers on their transaction receipts. As such,

            Plaintiff and other consumers who conducted business with Defendant during the timeframe

            relevant to this Complaint, each ofwhom engaged in a transaction using a credit card or debit card,

            suffered a number of harms including, but not limited to, violation of their substantive statutory



                                                          Page I 1
            11776
     Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 8 of 22 PageID #:13




    rights under 15 U.S.C. § 1681c(g), breach oftheir confidence in the safe handling oftheir account

~   information, invasion of their privacy as a result of the disclosure of their account information to
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~   those of Defendant's staff or aaents who handled the receints. exoosure to an elevated risk of
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~   identity theft as determined by Congress, the burden of having to keep or destroy the receipt to

    prevent further disclosure of their account information, and monetary harm from paying for what

    was supposed to be a secure and legally compliant transaction. Accordingly, Plaintiff and the

    unnamed class members are entitled to an award of statutory damages and other relief as further

    detailed herein.

                                     JURISDICTION AND VENUE

            2.     The Court has jurisdiction over this action pursuant to 735 ILCS 5/2-209(a)(1)

    because Defendant conducts substantial business in Illinois, and because the tortious acts

    complained of occurred in substantial part within Illinois.

            3.     Venue is proper because: Plaintiff resides, and at all times relevant herein resided,

    in Cook County, Illinois; the cause of action alleged by Plaintiff, on behalf of herself and the class,

    arose in substantial part from the Defendant's conduct in Cook County, Illinois; and Defendant

    conducts and conducted, at the time Plaintiffls causes of action arose and at all relevant times

    alleged herein, substantial business in Cook County, Illinois, including at the retail store located

    at 111 Old Orchard Center, Suite D111, Skokie, Illinois 60077.

                                                 PARTIES

            4.     Plaintiff, Juliana Barrientos, is a natural person who resides, and at all times

    relevant herein resided, in Cook County, Illinois.

            5.     Defendant, Williams-Sonoma, Inc., is a Delaware corporation which owns or

    operates retail stores under the Williams-Sonoma name and also through its subsidiaries which



                                                   Page 12
    11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 9 of 22 PageID #:14




includes Pottery Barn, West Elm, Crate and Barrel, and Rejuvenation, throughout the United

States, including the Pottery Barn location in Skokie, Illinois, that issued Plaintiff the receipt giving

rise to PlaintifPs claim.

                                    FACTUAL ALLEGATIONS

        A.      BACKGROUND OF FACTA

        6.      Identity theft is a serious issue affecting both consumers and businesses. As of

2018, a Harris Poll revealed that nearly sixty million Americans have been affected by identity

theft. There were a record high 16.7 million victims of identity fraud in 2017 alone, and account

takeovers (when a thief opens a credit card account or other financial account using a victim's

name and other stolen information), tripled in 2017 from 2016, causing $5.1 billion in losses. And

in 2019, Americans lost a total of $16.9 billion to identity fraud according to a study by Javelin

Strategy & Research. In a more recent Harris Poll conducted in 2021, 88 percent of Americans

surveyed indicated they are concerned about data privacy, and 1 in 5 indicated they had

experienced identity theft.

        7.      In 2019, 3.2 million people filed a report for identity theft or fraud. Consumer

Sentinel     Network,       Data   Book     2019     at    6,    FEDERAL       TRADE      COMMISSION,

https://www.ftc.gov/system/files/documents/reports/consumer-sent ine1-network-data-book-

2019/consumer_sentinel_network data book 2019.pdf (January 2020).

        8.      In Illinois alone, there were 23,139 identity theft reports in 2019. Id. at 35. Almost

half of those reports were connected to credit card fraud. Id. In 2019, fraud losses, which consist

for the most part of identity theft, amounted to $35.3 million in Illinois. Id.

        9.      Upon signing FACTA into law, President George W. Bush remarked that "[s]lips

of paper that most people throw away should not hold the key to their savings and financial



                                                Page 13
11776
     Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 10 of 22 PageID #:15




    secrets." 39 Weekly Comp. Pres. Doc. 1746, 1757 (Dec. 4, 2003). President Bush added that the

~   government, through FACTA, was "act[ing] to protect individual privacy." Id.
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~           10.    One such FACTA arovision was specificallv desianed to thwart identitv thieves'
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S   ability to gain sensitive information regarding a consumer's credit or debit card account from a

    receipt provided to the consumer at the point of sale, which, through any number of ways, can fall

    into the hands of someone other than the consumer. FACTA accomplishes this goal by requiring

    merchants to mask or "truncate" the card expiration date and most of the consumer's credit or debit

    card account number on the transaction receipt provided to the consumer at the point of sale.

            11.    The applicable provision states:

            Except as otherwise provided in this subsection, no person that accepts credit cards
            or debit cards for the transaction of business shall print more than the last 5 digits
            of the card number or the expiration date upon any receipt provided to the
            cardholder at the point of the sale or transaction.

    15 U.S.C. § 1681c(g) (the "Receipt Provision").

            12.    As part of its enactment, FACTA gave merchants three years to comply with the

    Receipt Provision—mandating full compliance by no later than December 4, 2006.

            13.    The Receipt Provision was widely publicized among retailers and the FTC. For

    example, on March 6, 2003, in response to earlier state legislation enacting similar truncation

    requirements, then-CEO of Visa USA, Carl Pascarella, explained:

            Today, I am proud to announce an additional measure to combat identity the$ and
            protect consumers. Our new receipt truncation policy will soon limit cardholder
            information on receipts to the last four digits of their accounts. The card's
            expiration date will be eliminated from receipts altogether .... The first phase of
            this new policy goes into effect July 1, 2003 for all new terminals ....

            14.     Within twenty-four hours, MasterCard and American Express announced they were

    imposing similar requirements.




                                                  Page 14
    11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 11 of 22 PageID #:16




        15.     Card issuing organizations proceeded to require compliance with FACTA by

contract, in advance of FACTA's mandatory compliance date.

        16.     Because a handful of large retailers did not comply with their contractual

obligations to the card companies and FACTA's straightforward requirements, Congress passed

The Credit and Debit Card Receipt Clarification Act of 2007, to temporarily change the definition

of willful noncompliance with respect to violations involving the failure to mask card expiration

dates on transaction receipts during a short period of time immediately a$er FACTA's effective

date.

        17.     Importantly, the Clarification Act reaffirmed Congress's belief that "proper

truncation" of the account number on the receipt (i.e., masking all but the last five digits) protects

cardholders from identity the8 or credit card fraud.

        18.    In the interim, card processing companies continued to alert their merchant clients,

including Defendant, of FACTA's requirements. According to Visa, only the last four digits can

be printed on transaction receipts, and the expiration date cannot be printed at all:

        Certain countries, such as the U.S., may also have legal restrictions on PAN
        [primary account number] and expiration date printing on cardholder transaction
        receipts and displays. For U.S.-based merchants, POS devices must only provide
        the last four digits of the PAN and must not provide the expiration date on
        cardholder transaction receipts.

Visa       Transaction       Acceptance         Device       Guide        (TADG),         at      21,

https://usa.review.visa.co m/dam/VCOM/regio nal/na/us/partner-with-us/do cuments/transaction-

acceptance-device-guide-tadg.pdf (Nov. 1, 2016).

        19.    Since 2003, the processing companies have required that merchants not show credit

or debit card expiration dates or any more than the last five digits of account numbers. For example,

American Express provides merchants with the following instructions and exemplar receipt:



                                              Page 15
11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 12 of 22 PageID #:17




        Pursuant to Applicable Law, truncate the Card Number and do not print the Card's
        Expiration Date on the copies of Charge Records delivered to Cardmembers.
        Truncated Card Number digits must be masked with replacement characters such
        as "x," "*," or "#," and not blank spaces or numbers. Here is an example of a Charge
        Record with a truncated Card Number.




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                                 s.!CorJtbJ to tty c,7rC nptW >;rCtY•,lnt




American          Express        Merchant                  Operating            Guide,           https://icm.aexp-

static.com/content/dam/gms/en_us/optblue/us-mog.pdf at 22 (July 17, 2020).

        20.     Similarly, MasterCard required in a section titled Primary Account Number (PAN)

truncation and Expiration Date Omission:

        A Transaction receipt generated by an electronic Terminal, whether attended or
        unattended, must not include the Card expiration date. In addition, a Transaction
        receipt generated for a Cardholder by an electronic Terminal, whether attended or
        unattended, must reflect only the last four digits of the primary account number
        (PAN). All preceding digits of the PAN must be replaced with fill characters, such
        as "X," "*," or "#," that are neither blank spaces nor numeric characters.

MasterCard Transaction Processing Rules, https://www.mastercard.us/content/dan-dmccom/en-

us/documents/TPR-manual-June2015.pdf, at 84 (June 9, 2015).

        21.     So problematic is the crime of identity theft that the three main credit reporting

agencies,     Experian,   Equifax,    and      Transunion,            joined   to   set-up   a     free   website




                                                    Page 16
11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 13 of 22 PageID #:18




(http://www.annualcreditreport.com) to comply with FACTA requirements and to provide

consumers with a means of monitoring their credit reports for possible identity theft.

        22.      FACTA prohibits printing more than the last five digits of card account numbers or

expiration dates on receipts to protect persons from identity theft and other harms.

        B.       DEFENDANT'S PRIOR KNOWLEDGE OF FACTA

        21.      Defendant had knowledge of FACTA's truncation requirement before it began

failing to comply with the requirement en masse.

        22.      Defendant accepts credit and debit card payments from its customers at all of its

retail locations.

        23.      Most of Defendant's business peers and competitors ensure their credit card and

debit card receipt printing process remains in compliance with FACTA by consistently verifying

their card machines and devices comply with the Receipt Provision. Defendant could have readily

done the same.

        24.      Indeed, on information and belief, it would have taken Defendant less than thirty

seconds to run a test receipt to determine whether its point-of-sale systems were violating FACTA

before using them.

        25.      Defendant was not only clearly informed to refrain from printing more than the last

five digits of debit and credit card account numbers on transaction receipts, but it was contractually

prohibited from doing so. Defendant accepts credit and debit cards from all major issuers, such as

Visa, MasterCard, American Express, and Discover. Each of these companies sets forth

requirements that merchants (such as and including Defendant) must follow, including FACTA's

redaction and truncation requirements found in the Receipt Provision. See Hawkins v. Capital

Fitness, Inc., 2015 IL App (lst) 133716, ¶14 (2015) (party signing a contract charged with



                                              Page 17
11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 14 of 22 PageID #:19




knowledge of its contents and bound by it).

        26.       In addition to the numerous ways Defendant was informed of the sensitive nature

of credit and debit card information, and the restrictions on printing anything more than the last

five digits of the card number on transaction receipts, Defendant was again informed about these

dangers and restrictions when it was sued for violating the Song-Beverly Credit Card Act of 1971.

See Pineda v. Williams-Sonoma Stores, Inc., 2011 WL 446921 (Cal. Feb. 11, 2011). Like FACTA,

the Song-Beverly Credit Card Act prohibits, among other things, businesses from printing

transaction receipts showing credit and debit card expiration dates or any more than the last five
                                             ,
digits of the account number. See Cal. Civ. Code § 1747.09. While Defendant was sued for

violating a different provision of the Song-Beverly Credit Card Act, it no doubt became acutely

aware of the act and the conduct prohibited by it, which includes the precise conduct it engaged in

this case.

        27.       Further, Defendant has publicly acknowledged both the risks of, and the liability

posed by credit card fraud and identity the$ in its 2021 Annual Report with the Securities and

Exchange Commission. See Williams-Sonoma, Inc., 20201 Annual Report, available at

https:Hdl 8rnOp25nwr6d.cloudfront.net/CIK-0000719955/69505a3a-Oee4-4f89-bdf5-

43714d267067.pdf (Last accessed Aug."19, 2021) (noting "We may be exposed to cybersecurity

risks and costs associated with credit card fraud, identity the$ and business interruption that could

cause us to incur unexpected expenses and loss of revenue.").

        C. PLAINTIFF'S FACTUAL ALLEGATIONS

        28.       On or about August 10, 2021, Plaintiff used her personal debit card to make a

purchase at one of Defendant's retail stores located at 111 Old Orchard Center, Suite D111, Skokie,

Illinois 60077.



                                              Page 18
11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 15 of 22 PageID #:20




        29.     At the time Plaintiff used her debit card, Defendant provided Plaintiff with an

electronically printed receipt that bore the first six and last four digits of Plaintiff's debit card

account number.

        30.     As a direct result of Defendant printing the above account information on this

receipt, Plaintiff was required to take steps to safeguard the receipt.

        31.     The disclosure of the first six and last four digits of the card account number was a

breach of confidence and exposed Plaintiff to a heightened risk of identity theft.

        32.     The printing of the receipt invaded Plaintiff's privacy as it disclosed her private

card account information to the employees who handed her the receipt on Defendant's behalf and

additionally were likely exposed, on information and belief, to other patrons, Defendant's

employees, and/or possible identity thieves.

        33.     The printing ofthe receipt breached Plaintiffls confidence in Defendant to properly

handle her account information and also constitutes a breach of an implied bailment.

        34.     As a direct result of receiving the receipt containing the first six and last four digits

of her card account number, Plaintiff took actions to safeguard the receipt.

        D.      DEFENDANT'S MISDEEDS

        35.     At all times relevant herein, Defendant was acting by and through its subsidiaries,

agents, servants, and/or employees, each of whom acted within the course and scope of its agency

or employment, under the direct supervision and control of Defendant.

        36.     Upon information and belief, Defendant dictates the point-of-sale and payment

system technology that it uses at every one of its subsidiaries, including the Pottery Barn retail

location that issued Plaintiff's receipt.

        37.     As one judge recently stated in another FACTA case, "willfulness," can be



                                                Page 19
11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 16 of 22 PageID #:21




discerned "from the continued use of a system whose characteristics would be known to any

merchant who knows what is being spat out by its machinery." Tran v. Kohl's Corp., No.

BC661136 (L.A. Super. Ct. Feb. 9, 2018).

        38.     Upon information and belief, Defendant implements, oversees, and maintains

control over the same uniform debit and credit card payment processing policies, practices, and

procedures for the transactions at issue in this case—including, without limitation, negotiating,

entering into, and acting pursuant to various contracts and agreements with the electronic payment

processing company whose technology Defendant uses to process credit and debit card

transactions.

        39.     Upon information and belief, the point-of-sale systems used by Defendant has the

capacity to maintain records of all payment transactions and has the ability to print duplicate copies

of all receipts provided to customers.

        40.     At all times relevant herein, the conduct of the Defendant, as well as that of its

subsidiaries, agents, servants, and/or employees, was in knowing or reckless disregard for federal

law and the rights of the Plaintiff and other members of the class.

        41.     Notwithstanding the fact that it has knowledge of the requirements of FACTA and

the dangers imposed upon consumers through its failure to comply, Defendant issued thousands

oftransaction receipts containing the first six and last four digits of credit and/or debit card account

numbers, violating FACTA.

        42.     By shirking the requirements of this important federal statute on such a large scale,

in an environment already ripe for identity thefft and other harms, Defendant uniformly invaded

Plaintiffls and the other putative class members' privacy, breached their confidence, mishandled

their personal account information, and exposed them to an elevated risk of identity theft.



                                              Page 110
11776
          Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 17 of 22 PageID #:22




      Defendant's conduct alleged herein resulted in the disclosure of Plaintiff's and the class members'

~     private financial information, including to persons who might find the receipts in the trash or
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U     elsewhere, such as identity thieves and Defendant's employees who handled the receipts.
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~              43.   Simply put, by printing numerous transaction receipts in violation of this long-
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0)    standing and well-known federal statute, Defendant has caused—to paraphrase the words of the
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N     Honorable Judge Richard A. Posner (Ret.)----"an unjustifiably high risk of harm that [wa]s either
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a     known or so obvious that it should [have been] known" to Defendant. Redman v. RadioShack
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      Corp., 768 F.3d 622, 627 (7th Cir. 2014) (quoting Farmer v. Brennan, 511 U.S. 825, 836 (1994)).

               44.   In view of the substantial harm and other risks to Plaintiff and the class caused by

      Defendant's willfully l unlawful conduct, and the likelihood that such harms and risks will continue

      absent judicial relief, the Court should enjoin Defendant from continuing to print receipts at its

      and its subsidiaries' retail locations in violation of FACTA.

                              CLASS REPRESENTATION ALLEGATIONS

               45.   This action is brought as a Class Action under 735 ICLS Section 5/2-801. Plaintiff

      proposes the following class, defined as follows, subject to modification by the Court as required:

                     All natural persons domiciled in the United States or its territories
                     who, from within two years preceding the filing of this Complaint
                     ("Class Period") to the certification of the class, engaged in one or
                     more transactions using a debit card or credit card at a retail location
                     owned by Williams-Sonoma, Inc., at a time when the point-of-sale
                     system used to process the transaction was programmed to print
                     more than the last five digits or the expiration date of debit and credit
                     cards used in the transaction on the customer's receipt.

               46.   Plaintiff falls within the class definition and is a member of the class. Excluded

      from the class is Defendant and any entities in which Defendant has a controlling interest,



      1 See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 69 (2007) (defendant is liable for willfully
      violating the FCRA where violation was committed with "reckless disregard" for the law).

                                                    Page I 11
      11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 18 of 22 PageID #:23




Defendant's agents and employees, Plaintiff s attorneys and their employees, the Judge to whom

this action is assigned, and any member of the Judge's staff and immediate family, and claims for

personal injury, wrongful death, and/or emotional distress.

        47.      The members of the class are capable of being described without any significant

managerial or administrative problem. And they are readily ascertainable from the information and

records in the possession, custody, or control of Defendant.

        48.      The class members are so numerous that joinder of all of them is impracticable.

Plaintiff believes that there are thousands of persons in the class. The exact number and identity

of class members is unknown to Plaintiff at this time and can be ascertained from information and

records in the possession, custody, or control of Defendant and/or its agents and/or the banks that

issued the credit/debit cards.

        49.      While all class members have experienced actual harm as previously explained

herein, this suit seeks only statutory damages on behalf of the class due to the difficulty of

quantifying the harm cause. Plaintiff reserves the right to expand the class defmition to seek

recovery on behalf of additional persons as warranted, as facts additional facts are learned.

        50.      The class is defined so that each class member will have identical claims or

defenses. As such, common questions of fact and law exist as to all members of the class, which

predominate over any questions affecting only individual members ofthe class, including Plaintiff.

See 735 ILCS 5/2-801(2). Such questions common to the class include, but are not limited to:

              a. whether, during the Class Period, the payment-processing system used by

        Defendant at its stores was programmed to generate customer transaction receipts that

        displayed more than the last five digits of the customer's credit or debit card number used

        in the transaction, violating FACTA;



                                             Page 112
11776
      Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 19 of 22 PageID #:24




                   b. whether Defendant's FACTA violation was knowing or reckless; and

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co                 c. the appropriate amount of statutory damages to award for the identical willful
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U            FACTA violations Defendant committed.
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m            51.      Plaintiff and her counsel will fairly and adequately protect the interests ofthe class,
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N    as required by 735 ILCS 5/2-801(3). Plaintiff has no interests that conflict with the interests of the
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a    class and seeks the same relief as the class. Plaintiff is interested in pursuing her claims vigorously
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     and has retained counsel, competent and experienced in class and complex litigation, including

     FACTA and other data privacy matters.

             52.      Considering the numerosity of the class members, the commonality of issues of law

     and fact among class members, and Plaintiff and her counsels' willingness and ability to fairly and

     adequately protect the interests of the class, a class action is an appropriate method for the fair and

     efficient adjudication of the controversy, as required by 735 ILCS 5/2-801(4). Moreover, class-

     wide damages are essential to induce Defendant to comply with the law. The interest of class

     members in individually controlling the prosecution of separate claims against Defendant is small.

     The maximum statutory damages in an individual action for a violation of this statute are minimal.

     Management of these claims is likely to present significantly fewer difficulties than those

     presented in many class claims.

             53.      Plaintiff and the members of the class have all suffered harm as a result of the

     Defendant's unlawful and wrongful conduct. Absent a class action, the class, along with countless

     future patrons of Defendant's establishments, will continue to face the potential for irreparable

     harm. In addition, these violations of law would be allowed to proceed without remedy and




                                                    Page 113
     11776
 Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 20 of 22 PageID #:25




Defendant will continue such illegal conduct. Because of the size of the individual class members'

claims, few class members could afford to seek legal redress for the wrongs complained of herein.

                     COUNT I— VIOLATIONS OF 15 U.S.C. § 1691(c)(g)

        54.    Plaintiff incorporates the foregoing allegations as if fully alleged herein.

        55.     15 U.S.C. §1681c(g) states as follows:

        Except as otherwise provided in this subsection, no person that accepts credit cards
        or debit cards for the transaction of business shall print more than the last 5 digits
        of the card number or the expiration date upon any receipt provided to the
        cardholder at the point of the sale or transaction.

        56.    This section applies to any "device that electronically prints receipts" (hereafter

"Devices") at the transaction location. 15 U.S.C. §1681c(g)(3).

        57.    Defendant uses Devices for point-of-sale transactions at its retail locations.

        58.    On or before the date on which this complaint was filed, Defendant provided

Plaintiff and members of the class with receipt(s) that failed to comply with the Receipt Provision.

        59.    At all times material hereto, Defendant was aware, or should have been aware, of

both the Receipt Provision as well as its obligation to comply with said provision.

        60.    Despite the three-year period to comply with FACTA and its accompanying

provisions, the subsequent years since FACTA became effective, and Defendant's knowledge of

the Receipt Provision and FACTA as a whole, Defendant knowingly, or recklessly violated the

Receipt Provision.

        61.    By printing the first six and last four digits of Plaintiff's debit card account number

on her transaction receipt, Defendant caused Plaintiff to suffer numerous harms as described

above. This includes, but is not limited to: breach of confidence; heightened risk of identity theft,

especially as the receipts display the full name of the card holder; exposure of Plaintiff's private




                                              Page 114
11776
Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 21 of 22 PageID #:26




information to those of Defendant's employees who handled the receipts; and being forced to take

action to prevent further disclosure of information displayed on the receipts.

        62.       As a result of Defendant's willful violations of the FCRA, Defendant is liable to

Plaintiff and members of the class pursuant to 15 U.S.C. § 1681n for statutory damages, punitive

damages, attorney's fees, and costs.

                                            X       X       X




        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of

herself and the class against Defendant, as follows:

              a. granting certification of the class;

              b. awarding statutory damages;

              c. awarding punitive damages;

              d. awarding attorneys' fees, litigation expenses, and costs of suit; and

              e. awarding such other and further relief as the Court deems proper under the

        crrcumstances.

Dated: August 26, 2021                           Respectfully submitted,

                                                 JULIANA BARRIENTOS,
                                                 individually and on behalf of all others similarly
                                                 situated,

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                                                Page 115
11776
      Case: 1:21-cv-05160 Document #: 1-1 Filed: 09/29/21 Page 22 of 22 PageID #:27




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                                             JURY DEMAND

             Plaintiff Demands a trial by jury.



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                                                  Page 116
     11776
